           Case 1:19-cr-10081-IT Document 269 Filed 10/16/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

 v.
                                                              Case No. 1:19-cr-10081-IT
 GORDON ERNST,

         Defendant.


               DEFENDANT GORDON ERNST’S MOTION TO JOIN
      DONNA HEINEL AND JOVAN VAVIC’S MOTIONS TO DISMISS INDICTMENT

        Defendant Gordon Ernst, by and through undersigned counsel, moves to join the motions

to dismiss filed by Defendants Donna Heinel and Jovan Vavic pursuant to Fed. R. Crim. P.

12(b)(3)(B) (Dkt. Nos. 264, 267) in the above-captioned case. Ms. Heinel argues that Count One

of the Indictment should be dismissed for failure to state a claim because the Indictment

improperly uses a “pattern of racketeering activity” as a proxy for an “association-in-fact

enterprise.” She further argues that the Indictment fails to properly plead an association-in-fact

enterprise because it fails to allege either a common purpose or a relationship joining the

defendants in any coordinated activity towards the common purpose. Similarly, Mr. Vavic

argues that the Indictment fails to allege to allege a single RICO conspiracy among the

Enterprise and the various defendants and that it fails to adequately allege that he joined the

alleged RICO conspiracy. Both motions to dismiss the indictment equally apply to Mr. Ernst.

Undersigned counsel therefore wishes to advance the same arguments on Mr. Ernst’s behalf and

requests permission to join in both motions. No prejudice to the government would arise from

the allowance of this motion.




                                                -1-
          Case 1:19-cr-10081-IT Document 269 Filed 10/16/19 Page 2 of 2



       Wherefore, for the foregoing reasons, Defendant Gordon Ernst respectfully requests that

his motion to join the motions to dismiss the indictment filed by Defendants Donna Heinel and

Jovan Vavic be allowed.

Dated: October 16, 2019                      Respectfully submitted,

                                             GORDON ERNST

                                             By his attorneys,

                                             /s/ Tracy A. Miner
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        I hereby certify that, pursuant to Rule 7.1(a)(2) of the Local Rules of the United States
District Court of Massachusetts, counsel for Mr. Ernst conferred with counsel for the United
States on October 16, 2019 regarding this motion, and Assistant United States Attorney Justin
O’Connell informed us that the United States has no objection to Mr. Ernst joining the other co-
defendants’ motions to dismiss.

                                             /s/ Seth B. Orkand
                                             Seth B. Orkand


                                CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was served by email on counsel for the
Government on October 16, 2019.

                                             /s/ Seth B. Orkand
                                             Seth B. Orkand




                                               -2-
